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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

EDWARD ROBINSON                     §
                                    §
v.                                  §     CIVIL ACTION NO. 3:22-CV-15
WILMINGTON SAVINGS FUND             §
SOCIETY, FSB                        §
______________________________________________________________________________

          UNOPPOSED STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

        Pursuant to the Federal Rule of Civil Procedure, Plaintiff Edward Robinson hereby

stipulate and agree to the following:

        1.     Plaintiff filed his Original Petition, Application for Injunctive Relief,

and Request for Disclosures in the 412th Judicial Court of Brazoria County, Texas on December 3,

2021.

        2.     Defendant filed its Notice of Removal on January 12, 2022.

        3.     The parties have resolved this matter amongst themselves.

        4.     Plaintiff as well as Defendant shall bear their own attorney’s fees, expert fees,

and litigation expenses incurred in litigating these claims.

        5.     Accordingly, Plaintiff requests that the Court dismiss this lawsuit with prejudice

against filing same in the future.

        WHEREFORE, PREMISES CONSIDERED, the Plaintiff hereto requests that the Court

enter the attached Order dismissing the above-entitled and numbered cause with prejudice with

costs of court being assessed against the party incurring same.
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                                              Respectfully submitted,
                                                     VILT AND ASSOCIATES – TX, P.C.

                                              By:    /s/ Robert C. Vilt
                                                     ROBERT C. VILT
                                                     Texas Bar Number 00788586
                                                     Federal Bar Number 20296
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                                              Houston, Texas 77056
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                                              ATTORNEYS FOR PLAINTIFF

                              CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was held on the merits of this motion on July 8, 2022
with George G. Robertson and he is not opposed to the relief sought herein.

                                                     /s/ Robert C. Vilt
                                                     ROBERT C. VILT

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 8th day of July,
2022.
        George G. Robertson
        Holland & Knight, LLP
        811 Main Street, Ste 2500
        Houston, TX 77002-5227

                                              By:   /s/ Robert C. Vilt
                                                    ROBERT C. VILT
